Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page11ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page22ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page33ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page44ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page55ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page66ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page77ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page88ofof47
                                                                                      47
Case
 Case9:23-cr-80101-AMC
      1:98-cr-00721-JAL Document 1280
                                 427-3 Entered
                                        Enteredon
                                                onFLSD
                                                   FLSDDocket
                                                        Docket06/05/2001
                                                               04/02/2024 Page
                                                                           Page99ofof47
                                                                                      47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1010
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1111
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1212
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1313
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1414
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1515
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1616
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1717
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1818
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              1919
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2020
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2121
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2222
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2323
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2424
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2525
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2626
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2727
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2828
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              2929
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3030
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3131
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3232
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3333
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3434
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3535
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3636
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3737
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3838
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              3939
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4040
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4141
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4242
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4343
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
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                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4444
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4545
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4646
                                                                                 of 47
                                                                                    of
                                        47
Case
Case1:98-cr-00721-JAL
     9:23-cr-80101-AMC Document
                        Document1280
                                 427-3Entered
                                        Entered
                                              onon
                                                 FLSD
                                                   FLSD
                                                      Docket
                                                        Docket
                                                             06/05/2001
                                                               04/02/2024Page
                                                                           Page
                                                                              4747
                                                                                 of 47
                                                                                    of
                                        47
